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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:04CR3128
                                         )
             v.                          )
                                         )
MARK R. SCHNEIDER,                       )                   ORDER
                                         )
                   Defendants.           )
                                         )


      This matter is before the court on defendant’s motion to continue trial, filing
69. The Court, being fully advised in the premises, and noting the government has
no objection to the continuance, finds that the motion should be granted.

       IT IS THEREFORE ORDERED:

      (1)    Defendant’s motion to continue, filing 69, is granted.

       (2) The defendant’s trial is set to commence before the undersigned at
9:00 a.m. on January 17, 2006 for a duration of four trial days. Jury selection will
be at the commencement of trial.

        (3) This Court further finds that, based upon the showing set forth in
defendant’s motion, the ends of justice will be served by continuing the trial; and
that the purposes served by continuing the trial date in this case outweigh the
interest of the defendant and the public in a speedy trial. Accordingly, the time
between December 12, 2005 and January 17, 2006 shall be excluded for speedy
trial calculation purposes. 18 U.S.C. § 3161(h)(8)(a).
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    December 6, 2005               BY THE COURT:

                                   s/ Richard G. Kopf
                                   United States District Judge




                                     2
